Case 14-50331-gs Doc50 Entered 07/01/14 16:17:09 Pagelof5

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ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 July 1, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors

ANTHONY THOMAS and WENDI

THOMAS and AT EMERALD, LLC

oOo Oo NN DN OH FP WH WN

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

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In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB

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NO =

ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

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- W

[Jointly Administered]

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AT EMERALD, LLC,

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Debtors.
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CERTIFICATE OF SERVICE
I served the following documents: EX PARTE MOTION TO SEAL AND
REPLACE DOCKET ENTRIES 40, 44, AND 45 [DE 48], and DECLARATION OF
ANTHONY THOMAS IN SUPPORT OF EX PARTE MOTION TO SEAL AND

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NO NO —|— =
—- CO OO oC

REPLACE DOCKET ENTRIES 40, 44, AND 45 [DE 49]. I served the above-named

NO WN
Ww NO

documents by the following means to the persons as listed below:

X__ ECF System to those persons listed on the attached Notices of Electronic Filing,
attached hereto as Exhibits A, and B, respectively, on June 30, 2014.

wo N
nA

I declare under penalty of perjury that the foregoing is true and correct.

No
On

Signed on this 1* day of July, 2014.

bo
~~

Roanna Bonaldi /s/ Roanna Bonaldi
Name Signature

i)
oC

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 H:\AT Emerald\Mot Sell\Mot to File Under Seal\Cert Serv Mot File Under Seal (AT) 0701 14-rmb.wpd

 

 
LIVE ECF Case 14-50331-gs Doc 50 Entered 07/01/14 16:17:09 Page 2 of 5 Page | of2

File a Motion:

14-50331-btb AT EMERALD, LLC (JNT - LEAD CASE #14-50333)

Type: bk Chapter: 11 v Office: 3 (Reno)
Assets: y Judge: btb Case Flag: BAPCPA,
JNTADMN

U.S. Bankruptcy Court
District of Nevada
Notice of Electronic Filing

The following transaction was received from ALAN R SMITH entered on 6/30/2014 at 5:05 PM PDT
and filed on 6/30/2014

Case Name: AT EMERALD, LLC (JNT - LEAD CASE #14-50333)

Case Number: 14-50331-btb

Document Number: 48

Docket Text:

Ex Parte Motion to Seal and Replace Docket Entries 40, 44, and 45 Filed by ALAN R SMITH on behalf
of AT EMERALD, LLC (Related document(s)[40] Motion to Sell Free and Clear of Liens Under
Section 363(f)) filed by Debtor AT EMERALD, LLC, [44] Motion to Seal filed by Debtor AT
EMERALD, LLC, [45] Declaration filed by Debtor AT EMERALD, LLC)(SMITH, ALAN)

The following document(s) are associated with this transaction:

Document description: Main Document
Original filename:H:\AT Emerald\Mot Sell\Mot to File Under Seal\Mot File Under Seal (AT)

063014.pdf

Electronic document Stamp:

[STAMP bkecfStamp_ID=989277954 [Date=6/30/2014] [FileNumber=26558092-0
] [b7fdO8d3bfca0bf0e3 eebc636fe89 1533 1907a6d702bb6bc050c3 bbe4a6e957c27a
49ee98a66259034bd8436242e2 1 b6581¢1127220040a8a77 1a22cdf7729ed]]

14-50331-btb Notice will be electronically mailed to:

TIMOTHY A LUKAS on behalf of Creditor BEACH LIVING TRUST JOHN BEACH, AS TRUSTEE
ecflukast@hollandhart.com

ALAN R SMITH on behalf of Debtor AT EMERALD, LLC
mail@asmithlaw.com

U.S. TRUSTEE - RN - 11
USTPRegion17.RE.ECF@usdoj.gov

JOSEPH G WENT on behalf of Creditor BEACH LIVING TRUST JOHN BEACH, AS TRUSTEE
JGWent@hollandhart.com, algrangaard@hollandhart.com

EXHIBIT “A”

https://ecf.nvb.uscourts.gov/cgi-bin/Dispatch.p1?7058483805 19006 6/30/2014
LIVEECF Case 14-50331-gs Doc50 Entered 07/01/14 16:17:09 Page 3 of 5 Page? of?

14-50331-btb Notice will not be electronically mailed to:

https://ecf.nvb.uscourts.gov/cgi-bin/Dispatch.p!1?7058483805 19006 6/30/2014
LIVE ECF Page 1 of 2

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Miscellaneous:

14-50331-btb AT EMERALD, LLC (JNT - LEAD CASE #14-50333)

Type: bk Chapter: 11 v Office: 3 (Reno)
Assets: y Judge: btb Case Flag: BAPCPA,
JNTADMN

U.S. Bankruptcy Court
District of Nevada
Notice of Electronic Filing

The following transaction was received from ALAN R SMITH entered on 6/30/2014 at 5:07 PM PDT
and filed on 6/30/2014

Case Name: AT EMERALD, LLC (JNT - LEAD CASE #14-50333)

Case Number: 14-50331-btb

Document Number: 49

Docket Text:

Declaration Of: Anthony Thomas Filed by ALAN R SMITH on behalf of AT EMERALD, LLC
(Related document(s)[40] Motion to Sell Free and Clear of Liens Under Section 363(f)) filed by Debtor
AT EMERALD, LLC, [44] Motion to Seal filed by Debtor AT EMERALD, LLC, [45] Declaration filed
by Debtor AT EMERALD, LLC) (SMITH, ALAN)

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:H:\AT Emerald\Mot Sell\Mot to File Under Seal\Decl Thomas Mot File Under Seal
(AT) 063014.pdf

Electronic document Stamp:

[STAMP bkecfStamp_ID=989277954 [Date=6/30/2014] [FileNumber=26558110-0

] [e24a2efb859ea9f7205e4484bd55 13c28901a5214780b9e8 66ef1 5£884ba073e359
a3eQac6dc7840cb9b 1 cd0f8437e4359f0f632c 1 8f3 bae04b8ef3.a78947298 |]

14-50331-btb Notice will be electronically mailed to:

TIMOTHY A LUKAS on behalf of Creditor BEACH LIVING TRUST JOHN BEACH, AS TRUSTEE
ecflukast@hollandhart.com

ALAN R SMITH on behalf of Debtor AT EMERALD, LLC
mail@asmithlaw.com

U.S. TRUSTEE - RN - 11
USTPRegion17.RE.ECF@usdoj.gov

JOSEPH G WENT on behalf of Creditor BEACH LIVING TRUST JOHN BEACH, AS TRUSTEE
JGWent@hollandhart.com, algrangaard@hollandhart.com

EXHIBIT “B_”

https://ecf.nvb.uscourts.gov/cgi-bin/Dispatch.p1?346469925 859113 6/30/2014
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14-50331-btb Notice will not be electronically mailed to:

https://ecf.nvb.uscourts.gov/cgi-bin/Dispatch.pl?3464699258591 13 6/30/2014
